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     RENE ZEPEDA FELIX
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
                                                   )   Case No.: 1:20-cr-00213
     UNITED STATES OF AMERICA,                     )
10
                                                   )
                   Plaintiff,                      )   REQUEST TO TRANSPORT FEDERAL
11
                                                   )   INMATE FOR SURGERY; ORDER
          vs.                                      )   DENYING REQUEST
12
     RENE ZEPEDA FELIX,                            )   (Doc. 32)
                                                   )
13                 Defendant                       )
                                                   )
14

15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE JENNIFER

16   L. THURSTON AND ANGELA SCOTT, ASSISTANT UNITED STATES ATTORNEY:

17          COMES NOW Defendant, RENE ZEPEDA FELIX, by and through his attorney of

18   record, DAVID A. TORRES hereby requests that he be transported for surgery on Monday.

19   November 16, 2020.

20          On or about November 10, 2020 I was appointed by the Criminal Justice Act Panel to

21   represent Mr. Felix in this matter. On the week of November 10, 2020 there were various

22   communications between myself and CJA Panel Administrator, Connie Garcia. I was informed

23   by Ms. Garcia that the defendant is scheduled for surgery, on Monday November 16, 2020 at

24   10:45a.m. (document is attached herein, we were informed by his spouse that the arrival time

25   was changed from 11:45a.m. to 10:45a.m.). Surgery is scheduled at the Kern Medical Surgery

     Center located at 9300 Stockdale Highway, Suite 200.



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 1            I have spoken to AUSA Angela Scott and she does not objection to the request, so long as

 2   the US Marshals Office can accommodate the transportation.

 3

 4   DATED: November 13, 2020

 5                                                                             Respectfully Submitted,

 6                                                                             /s/ David A Torres                ___
                                                                               DAVID A. TORRES
 7                                                                             Attorney for Defendant
                                                                               RENE ZEPEDA FELIX
 8

 9                                                         ORDER

10            The Court has received information from the U.S. Marshal Service that the surgery at

11   issue is non-emergent. Though the Court has no reason at this time to doubt that Mr. Felix needs

12   the surgery, the short notice provided to the U.S. Marshal Service is insufficient for it to

13   adequately assure the safety of those involved1. When weighed against the fact that medical staff

14   at the Lerdo Jail Facility has confirmed that the surgery can be delayed without adverse health

15   consequences to Mr. Felix, the Court cannot justify allowing the surgery to proceed on Monday.

16   The risks posed to the escorting officers, the medical staff and the public are unnecessarily great.

17   Rescheduling the surgery would minimize these risks. Thus, the Court DENIES the request

18   (Doc. 32).

19   ///

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     1
       Advance notice of inmate movements outside of the custodial setting give rise to the increased risk of an escape
25   attempt that may be supported by the inmate’s cohort outside of the facility. The Court does not suggest that this is
     planned by Mr. Felix, his friends or family. However, the U.S. Marshal Service is charged with the safety and
     security of those in their custody as well as those who may be placed at risk by those in their custody. In this role,
     the U.S. Marshal Service must plan for and be aware of the risks posed by inmate movement.



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 1          Nevertheless, if Mr. Felix remains detained after his hearing on November 17, 2020, the

 2   U.S. Marshal Service is ORDERED to work with the medical staff at the Lerdo Jail Facility to

 3   reschedule Mr. Felix’s surgery as needed to assure his health and welfare.

 4
     IT IS SO ORDERED.
 5

 6
        Dated:     November 13, 2020                          /s/ Jennifer L. Thurston
                                                      UNITED STATES MAGISTRATE JUDGE
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                                       Summary of Pleading - 3
